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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MINNESOTA


 IN RE CATTLE AND BEEF ANTITRUST                    Case No. 20-cv-01319 (JRT/HB)
 LITIGATION

 This document relates to:

 ALL CASES


        PLAINTIFFS’ MOTION TO COMPEL DOCUMENT CUSTODIANS

         Plaintiffs respectfully move this Court, pursuant to Rule 26 of the Federal

Rules of Civil Procedure, for an order compelling Defendants to name the

following individuals as document custodians in accordance with the ESI

Protocol:

Tyson
               The slaughter and fabrication managers at Tyson’s Amarillo, TX plant
               The general, slaughter, and fabrication managers at Tyson’s
                 Holcomb, KS plant
               The general, slaughter, and fabrication managers at Tyson’s Dakota
                 City, NE plant
               Thomas Hayes
               Brad Bodine
               Todd Nogelmeier
               Mark Gingerich
               Jason Robertson
               Roel Andriessen
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               Nathan Hodne
JBS
               The general, slaughter, and fabrication managers at JBS’s Greeley, CO
                 plant
               The general, slaughter, and fabrication managers at JBS’s Grand
                 Island, NE plant
               Ryan Wagnon
               Wesley Batista
               John Flynn
               Chris Jensen
               Jason Kuan
Cargill
               The general, slaughter, and fabrication managers at Cargill’s Friona,
                 TX plant
               The general, slaughter, and fabrication managers at Cargill’s
                 Schuyler, NE plant
               The general, slaughter, and fabrication managers at Cargill’s Dodge
                 City, KS plant
               Nancy Lucas
               Charles Fox
               Daniel Johnson
National Beef
               The slaughter and fabrication managers at National Beef’s Liberal, KS
                 plant
               The slaughter and fabrication managers at National Beef’s Dodge
                 City, KS plant


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               John Surman
               David Grosenheider
               Mark Domanski
               Randy Johnson
               Zack Kimbell

         The grounds for this motion are set forth and supported in the

accompanying memorandum, the arguments of counsel, and all of the papers

and proceedings in this matter.


         Dated: February 25, 2022        Respectfully Submitted,


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